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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                 3/12/2024
UNITED STATES OF AMERICA,
                                                 14 CR 716 (VM)

                                                 ORDER
                  - against -

MUHAMMAD ASIF HAFEEZ,

                         Defendant.


VICTOR MARRERO, United States District Judge.

        The status conference scheduled for March 15, 2024, is

hereby adjourned until April 26, 2024, at 1:00 p.m. All

parties to this action consent to an exclusion of time from

the Speedy Trial Act until April 26, 2024.

        It is hereby ordered that time until April 26, 2024,

shall    be   excluded   from   speedy   trial   calculations.     This

exclusion is designed to guarantee effectiveness of counsel

and prevent any possible miscarriage of justice. The value of

this exclusion outweighs the best interests of the Defendant

and the public to a speedy trial. This order of exclusion of

time is made pursuant to 18 U.S.C. §§ 3161(h)(7)(B)(i) & (iv).



SO ORDERED.

Dated:        12 March 2024 New
              York, New York

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                                               Victor Marrero
                                                  U.S.D.J.
